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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                      Fort Lauderdale Division

                                 CASE NO. 24-cv-61078-ROSENBERG

   AMERANT BANK, N.A.,

            Plaintiff,

   v.

   JPMORGAN CHASE BANK, N.A.,

            Defendant.

  _______________________________________________/

                                   JOINT SCHEDULING REPORT

           The Parties, by and through their undersigned counsel, pursuant to Local Rule 16.1(b) and

  this Court’s Order [ECF No. 7], hereby submit this Joint Scheduling Report, and state as follows:

        (A) The Likelihood of Settlement

           Settlement discussions remain ongoing and the parties will attempt in good faith to
           resolve this matter and will notify the Court promptly if they do so.

        (B) The Likelihood of Appearance in the Action of Additional Parties

           At this time, the Parties anticipate additional parties may be added as necessary,
           indispensable parties or as cross-claim defendants. Discovery may disclose the existence
           of additional parties appropriate to join at a later date.

        (C) Proposed Limits on the time:

             (i)   To join other parties and to amend the pleadings: September 27, 2024.
            (ii)   To file and hear motions: June 17, 2025.
           (iii)   To complete discovery: April 30, 2025.

        (D) Proposals for the Formulation and Simplification of the Issues

            At this time, the Parties do not have any specific proposals for the formulation and
            simplification of any issues. However, as the case progresses, the Parties will confer in
            good faith to discuss proposals for the formulation and simplification of issues in this case.

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     (E) The Necessity or Desirability of Amendment to the Pleadings

         Aside from the addition of parties or additional defenses or as necessary based on
         information learned through discovery, the Parties do not presently anticipate amending
         the pleadings.

     (F) The Possibility of Admissions of Fact, Stipulations, and Rulings on Admissibility

         The Parties agree to make a good faith effort to avoid unnecessary proof, to agree to
         stipulations when appropriate, and attempt to resolve issues on the admissibility of
         evidence in advance.

     (G) Suggestions for the Avoidance of Unnecessary proof and Cumulative Evidence

         The Parties have no additional suggestions beyond those set forth in the preceding
         paragraph F. The parties do not believe that there will be problems of unnecessary proof
         or cumulative evidence at trial.

     (H) Referring Matter to a Magistrate Judge

         The Parties consent that discovery disputes be referred to the Magistrate Judge. The
         Parties do not consent to trial or to the disposition of dispositive pretrial motions by the
         Magistrate Judge at this time.

     (I) Preliminary estimate of the Time Required for Trial

         The Parties currently estimate two (2) to four (4) days are required for trial.

     (J) Requested Dates for Conferences before Trial, a Final Pretrial Conference, and Trial

         The Parties request that trial be scheduled to commence on or about September 1, 2025.
         Please refer to the attached Proposed Scheduling Order for additional proposed dates
         relating to discovery, pretrial conferences, and trial.

     (K) Any issues about:
             (i) disclosure, discovery, or preservation of electronically stored information,
                   including the form or forms in which it should be produced;
            (ii) claims of privilege or of protection as trial-preparation materials,
                   including -- if the parties agree on a procedure to assert those claims after
                   production -- whether to ask the court to include their agreement in an
                   order under Federal Rule of Evidence 502; and
           (iii) when the parties have agreed to use the ESI Checklist available on the
                   Court’s website (www.flsd.uscourts.gov), matters enumerated on the ESI
                   Checklist



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         Because the parties expect that some information and materials exchanged in discovery
         will contain proprietary and confidential information, the parties agree to draft and enter a
         stipulation for the protection of confidential information. A court order may be required
         before production of certain bank records due to federal law. Further, subject to
         modification by the parties, all claims of privilege or protection as trial materials, and the
         production of any information subject to such claims, will be governed by Federal Rule of
         Civil Procedure 26(b).

     (L) Any other information that might be helpful to the Court in setting the case for status
         or pretrial conference.

         None at this time.

  Dated: July 3, 2024


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